1    Garrett S. Garfield, WSBA No. 48375                         Hon. Mary Jo Heston
     E-mail: garrett.garfield@hklaw.com                          Chapter 11
2    HOLLAND & KNIGHT LLP                                        Hearing Date: 01/14/2021
     601 SW Second Avenue, Suite 1800                            Hearing Time: 9:30 a.m.
3    Portland, OR 97204                                          Hearing Location: Telephonic
     Telephone: 503.243.2300                                     Tel. 1-888-363-4749, Access Code
4    Fax: 503.241.8014                                           5635947#, security code 3887#
                                                                 Response Date: 01/07/2021
5    Attorneys for Creditor Cerner Middle East Limited

6                            UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF WASHINGTON AT TACOMA
7     In re:                                                  Case Nos:
8     VANDEVCO LIMITED and ORLAND LTD.,                       20-42710-MJH (Lead Case)
9                                           Debtors.
                                                              20-42711-MJH (Jointly administered under
10                                                            Case No. 20-42710-MJH)

11                                                            MOTION TO MODIFY THE
                                                              AUTOMATIC STAY TO PROCEED
12                                                            WITH NONBANKRUPTCY
                                                              LITIGATION
13

14

15                                                  NOTICE

16             TO ALL INTERESTED PARTIES, PLEASE TAKE NOTICE that Cerner Middle East

17   Limited’s Motion To Modify the Automatic Stay to Proceed with Nonbankruptcy Litigation is set

18   for hearing on January 14, 2021 at 9:00 a.m. The hearing will be conducted telephonically and you

19   may appear by calling 1-888-363-4749, Access Code 5635947#, security code 3887#. Any party

20   opposing the motion must file and serve a written response by the January 7, 2021 response date

21   and if no response is filed by the response date, the court may in its discretion grant the motion

22   prior to the hearing without further notice.

23                                                  MOTION

24             Pursuant to 11 U.S.C. § 362(d), Cerner Middle East Limited, by and through its counsel,

25   Holland & Knight LLP, moves this Court for an Order modifying the automatic stay to permit

26   Cerner and Debtor to proceed with nonbankruptcy litigation in Washington state court, which


      MOTION TO MODIFY AUTOMATIC STAY                                               HOLLAND & KNIGHT LLP
                                                                                  601 SW Second Avenue, Suite 1800
      CASE NO. 20-42710-MJH – PAGE 1                                                      Portland, OR 97204
                                                                                       Telephone: 503.243.2300


      Case 20-42710-MJH           Doc 53    Filed 12/21/20    Ent. 12/21/20 20:33:54        Pg. 1 of 5
1    litigation was scheduled for a continuing evidentiary hearing the day following Debtor’s

2    bankruptcy filing. The accompanying Memorandum and Declaration of Garrett S. Garfield support

3    this Motion. A proposed form of order granting this motion is attached as Exhibit A.

4           DATED December 21, 2020.

5                                                Respectfully submitted,

6                                                HOLLAND & KNIGHT LLP
7                                                By: s/ Garrett S. Garfield
                                                     Garrett S. Garfield, WSBA No. 48375
8                                                    E-mail:garrett.garfield@hklaw.com
                                                     601 SW Second Avenue, Suite 1800
9                                                    Portland, OR 97204
                                                     Telephone: 503.243.2300
10                                                   Fax: 503.241.8014
11                                               Attorneys for Creditor Cerner Middle East Limited
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      MOTION TO MODIFY AUTOMATIC STAY                                              HOLLAND & KNIGHT LLP
                                                                                 601 SW Second Avenue, Suite 1800
      CASE NO. 20-42710-MJH – PAGE 2                                                     Portland, OR 97204
                                                                                      Telephone: 503.243.2300


      Case 20-42710-MJH         Doc 53    Filed 12/21/20     Ent. 12/21/20 20:33:54         Pg. 2 of 5
              Exhibit A




Case 20-42710-MJH   Doc 53   Filed 12/21/20   Ent. 12/21/20 20:33:54   Pg. 3 of 5
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10                          UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF WASHINGTON AT TACOMA
11
      In re:                                                 Case Nos:
12
      VANDEVCO LIMITED and ORLAND LTD.,                      20-42710-MJH (Lead Case)
13
                                           Debtors.
                                                              20-42711-MJH (Jointly administered under
14
                                                              Case No. 20-42710-MJH)
15
                                                             ORDER MODIFYING THE
16                                                           AUTOMATIC STAY TO PROCEED
                                                             WITH NONBANKRUPTCY
17                                                           LITIGATION

18

19             Upon the Motion (“Motion”) of Cerner Middle East Limited (“Cerner”) seeking

20   modification of the automatic stay to proceed with nonbankruptcy litigation against debtor

21   Vandevco Limited (“Vandevco) in the case styled Cerner Middle East Limited v. Belbadi

22   Enterprises, Clark County Case No. 16-2-01395-7 (the “Litigation”), pending before the Superior

23   Court of Washington, Clark County (“Clark County Superior Court”), as well as the December

24   21, 2020 Declaration of Garrett S. Garfield and Cerner’s Memorandum of Points and Authorities

25   both in support of the Motion, and the hearing and all proceedings and pleadings before the Court

26   in connection with the Motion; the Court having jurisdiction over this matter pursuant to 28 U.S.C


      ORDER MODIFYING AUTOMATIC STAY                                                HOLLAND & KNIGHT LLP
                                                                                  601 SW Second Avenue, Suite 1800
      CASE NO. 20-42710-MJH – PAGE 1                                                      Portland, OR 97204
                                                                                       Telephone: 503.243.2300


      Case 20-42710-MJH         Doc 53     Filed 12/21/20     Ent. 12/21/20 20:33:54        Pg. 4 of 5
1    §§1334 and 157(b); due and proper notice of the Motion, presentation of this Order, and the hearing

2    on the Motion being provided, and no other or further notice being necessary; and any objections

3    to the relief presented and provided in this Order having been withdrawn and/or overruled on the

4    merits:

5              IT IS HEREBY ORDERED that:

6              1.    The Motion is GRANTED as set forth herein;

7              2.    Pursuant to section 362(d)(1) of the Bankruptcy Code, the automatic stay shall be

8    modified to permit all parties to proceed with the Litigation in the Clark County Superior Court,

9    for purposes of the determination of liability and enforcement of any and all orders entered in the

10   Litigation;

11             3.    This Order shall be immediately effective upon entry on the docket in this case; the

12   14-day stay provided by Fed. R. Bankr. P 4001(a)(3) is hereby waived;

13             4.    This Order is binding against all parties in these chapter 11 cases;

14             5.    Cerner is authorized to take all actions necessary to effectuate the relief granted

15   pursuant to this Order; and

16             6.    The Court shall retain jurisdiction to hear and determine all matters arising from or

17   related to the implementation, enforcement, or interpretation of this Order.

18                                            /// End of Order ///

19

20   Presented by:

21   HOLLAND & KNIGHT LLP
22   By: s/ Garrett S. Garfield
     Garrett S. Garfield, WSBA No. 48375
23   E-mail: garrett.garfield@hklaw.com
     601 SW Second Avenue, Suite 1800
24   Portland, OR 97204
     Telephone: 503.243.2300
25   Fax: 503.241.8014
26   Attorneys for Creditor Cerner Middle East Limited


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      Case 20-42710-MJH            Doc 53    Filed 12/21/20     Ent. 12/21/20 20:33:54         Pg. 5 of 5
